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 7

 8                            UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   STEPHEN TURNER, an individual,           Case No.: 2:22-cv-06754
12               Plaintiff,
                                              COMPLAINT FOR
13         vs.
                                                (1) VIOLATION OF THE UNRUH
14   ZYDUS, LLC, a limited liability
     company,                                       CIVIL RIGHTS ACT
15                                                  (CALIFORNIA CIVIL CODE
                 Defendants.                        §§ 51, 52);
16
                                                (2) VIOLATIONS OF THE
17
                                                    AMERICANS WITH
18                                                  DISABILITIES ACT OF 1990
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                                       COMPLAINT
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 1                                               I.
                                              SUMMARY
 2

 3           1.    This is a civil rights action by plaintiff Stephen Turner (“Plaintiff”) for
 4   discrimination at the building, structure, facility, complex, property, land,
 5   development, and/or surrounding business complex located at 13363 Telegraph Rd,
 6   Whittier, CA 90605 (from which the business “Chevron” operates). Plaintiff often
 7   frequents the area as he lives approximately 15 minutes from the Property. On this
 8   particular occasion, he desired to patronize the Chevron gas station located at the
 9   Property.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes1 against Defendant, the owner ZYDUS,
13   LLC (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c).
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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                                              COMPLAINT
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                                                IV.
 2
                                              PARTIES
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           7.       Defendant is or was at the time of the incident, the owner, operator,
 4
     lessor and/or lessee of the Property, and consists of a person (or persons), firm,
 5
     company, and/or corporation.
 6
           8.       Plaintiff is a paraplegic, and as a result is unable to walk or stand, and
 7
     thus requires a use of a wheelchair at all times when traveling in public. Plaintiff is
 8
     “physically disabled” as defined by all applicable California and United States laws,
 9
     and a member of the public whose rights are protected by these laws. Plaintiff is not a
10
     high frequency litigant as that term is defined under California Code of Civil
11
     Procedure § 425.55(b).
12
                                                V.
13
                                                FACTS
14
           9.       On September 1, 2022, Plaintiff patronized the Property. The Property is
15
     a sales or retail establishment, open to the public, which is intended for nonresidential
16
     use and whose operation affects commerce.
17
           10.      Plaintiff visited the Property and encountered barriers (both physical and
18
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
19
     enjoy the goods, services, privileges and accommodations offered at the facility. To
20
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
21
     to the following:
22
                 a. Restrooms at the bar are not properly configured for use by persons with
23
                    disabilities in multiple respects, including but not limited to missing or
24
                    improperly positioned safety grab bars that are needed to safely transfer
25
                    from the wheel chair to the toilet; toilet seat dispensers and/or toilet paper
26
                    rolls that are not properly configured making it difficult if not impossible
27
                    to reach; entrances to the restrooms are too narrow.
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                                                     2
                                             COMPLAINT
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 1
           11.    These barriers to access are listed without prejudice to Plaintiff citing
 2
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
 3
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 4
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
 5
     Property.
 6
           12.    Plaintiff thus experienced difficult, discomfort and embarrassment as a
 7
     result of the accessible barriers he encountered. He continues to be deterred from
 8
     visiting the Property because of the future threats of injury created by these barriers.
 9
     Plaintiff would return to the Property once the barriers are corrected as the gas station
10
     is conveniently located within 15 minutes of his residence.
11
           13.    Defendant knew that these elements and areas of the Property were
12
     inaccessible, violate state and federal law, and interfere with (or deny) access to the
13
     physically disabled. Moreover, Defendant has the financial resources to remove these
14
     barriers from the Property (without much difficult or expense), and make the Property
15
     accessible to the physically disabled. To date, however, the Defendant refuses to
16
     remove those barriers.
17
           14.    At all relevant times, Defendant has possessed and enjoyed sufficient
18
     control and authority to modify the Property to remove impediments to wheelchair
19
     access and to comply with the Americans with Disabilities Act Accessibility
20
     Guidelines and Title 24 regulations. Defendant has not removed such impediments
21
     and has not modified the Property to conform to accessibility standards.
22
                                               VI.
23
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
24
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
25
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
26
                                     CODE SECTION 51(f)
27
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
28
                                                 3
                                           COMPLAINT
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 1
     14 for this claim and incorporates them herein.
 2
           16.    At all times relevant to this complaint, California Civil Code § 51 has
 3
     provided that physically disabled persons are free and equal citizens of the state,
 4
     regardless of disability or medical condition:
 5
           All persons within the jurisdiction of this state are free and equal, and
 6
           no matter what their sex, race, color, religion, ancestry, national
 7
           origin, disability, or medical condition are entitled to the full and
 8
           equal accommodations, advantages, facilities, privileges, or services
 9
           in all business establishments of every kind whatsoever. Cal. Civ.
10
           Code § 51(b).
11
           17.     California Civil Code § 52 provides that the discrimination by Defendant
12
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
13
     discrimination provisions of §§ 51 and 52.
14
           18.    Defendant’s discrimination constitutes a separate and distinct violation of
15
     California Civil Code § 52 which provides that:
16
           Whoever denies, aids or incites a denial, or makes any discrimination
17
           or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
18
           every offense for the actual damages, and any amount that may be
19
           determined by a jury, or a court sitting without a jury, up to a
20
           maximum of three times the amount of actual damage but in no case
21
           less than four thousand dollars ($4,000) and any attorney’s fees that
22
           may be determined by the court in addition thereto, suffered by any
23
           person denied the rights provided in Section 51, 51.5 or 51.6.
24
           19.    Plaintiff continues to be deterred from visiting the Subject Property based
25
     upon the existence of the accessible barriers. In addition to the instance of deterrence
26
     occurring on September 2022, Plaintiff is entitled to $4,000.00 in statutory damages
27
     for each additional occurrence of discrimination under California Civil Code § 52.
28
                                                   4
                                            COMPLAINT
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 1
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 2
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
 3
     thus independently justifying an award of damages and injunctive relief pursuant to
 4
     California law. Per § 51(f), “[a] violation of the right of any individual under the
 5
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
 6
     section.”
 7
           21.    The actions and omissions of Defendant as herein alleged constitute a
 8
     denial of access to and use of the described public facilities by physically disabled
 9
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
10
     result of Defendant’s action and omissions Defendant has discriminated against
11
     Plaintiff in a violation of Civil Code §§ 51 and 51.
12
                                               VII.
13
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
14
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
15
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
16
     21 for this claim and incorporates them herein.
17
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
18
     Congress passed “Title III – Public Accommodations and Services Operated by
19
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
20
     entities” which are considered “public accommodations” for purposes of this title,
21
     which includes any “restaurant, bar, or other sales or rental establishment serving food
22
     or drink.” § 301(7)(B).
23
           24.    The ADA states that “[n]o individual shall be discriminated against on
24
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
25
     privileges, advantages, or accommodations of any place of public accommodation by
26
     any person who owns, leases, or leases to, or operates a place of public
27
     accommodation.” 42 U.S.C. § 12182.
28
                                                  5
                                           COMPLAINT
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 1
           25.    The acts and omissions of Defendant set forth herein were in violation of
 2
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
 3
     Part 36 et seq.
 4
           26.    The removal of each of the barriers complained of by Plaintiff as
 5
     hereinabove alleged, were at all times herein mentioned "readily achievable" under the
 6
     standards §§ 30 l and 302 of the ADA. As noted hereinabove, removal of each and
 7
     every one of the architectural barriers complained of herein were also required under
 8
     California law. Further, on information and belief, alterations, structural repairs or
 9
     additions since January 26, 1993 have also independently triggered requirements for
10
     removal of barriers to access for disabled persons per § 303 of the ADA. In the event
11
     that removal of any barrier is found to be "not readily achievable," Defendant still
12
     violated the ADA, per§ 302(b )(2)(A)(v) by failing to provide all goods, services,
13
     privileges, advantages and accommodations through alternative methods that were
14
     readily achievable.
15
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
16
     Property and as of the filing of this Complaint, the Defendant has denied and
17
     continues to deny full and equal access to Plaintiff and to other disabled persons,
18
     including wheelchair users, in other respects, which violate plaintiff's rights to full and
19
     equal access and which discriminate against Plaintiff on the basis of his disability,
20
     thus wrongfully denying to plaintiff the full and equal enjoyment of the goods,
21
     services, facilities, privileges, advantages and accommodations, in violation of§§ 302
22
     and 303 of the ADA. 42 USC§§ 12182 and 12183.
23
           28.    On information and belief, Defendant has continued to violate the law
24
     and deny the rights of Plaintiff and other disabled persons to access this public
25
     accommodation since on or before Plaintiff's encounters, as previously noted.
26
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
27
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
28
                                                 6
                                           COMPLAINT
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 1
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 2
     in violation of the ADA or has reasonable grounds for believing that he is about to be
 3
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 4
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
 5
     make such facilities readily accessible to and usable by individuals with disabilities to
 6
     the extent required by this title."
 7
           29.     Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
 8
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
 9
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
10
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
11
     to discrimination on the basis of disability in violation of Title III and who has
12
     reasonable grounds for believing he will be subjected to such discrimination each time
13
     that he may attempt to use the property and premises.
14

15
                                              PRAYER
16
           WHEREFORE, Plaintiff prays that this court award damages and provide relief
17
     as follows:
18
        1. Issue a preliminary and permanent injunction directing Defendant as current
19
     owner, operator, lessor, and/or lessee of the property and premises to modify the
20
     above described property and premises and related facilities so that each provides full
21
     and equal access to all persons, including but not limited to persons with physical
22
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
23
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
24
     situated persons with disabilities, and which provide full and equal access, as required
25
     by law, including appropriate changes in policy;
26
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
27
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
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                                                   7
                                            COMPLAINT
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 1
     inaccessible public facilities as complained of herein no longer occur, and can not
 2
     recur;
 3
        3. Award to Plaintiff all appropriate damages, including but not limited to
 4
     statutory damages, general damages and treble damages in amounts within the
 5
     jurisdiction of this Court, all according to proof;
 6
        4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
 7
     costs of this proceeding as provided by law;
 8
        5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
 9
     329
10
        6. Grant such other and further relief as this Court may deem just and proper.
11

12                                        ASCENSION LAW GROUP, PC

13    DATE: September 20, 2022

14                                                    /s/Pamela Tsao

15                                        Pamela Tsao, attorney for Plaintiff

16                                               STEPHEN TURNER

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                                                  8
                                           COMPLAINT
